O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT COURT
                                                                          for the
                                                        Western District of North Carolina

                     United States of America                               )
                                v.                                          )
                                                                            )   Case No: 5:01CR08-6
                 JERMAINE ANDRE ANTHONY
                                                                            )   USM No: 17267-058
Date of Previous Judgment: July 8, 2003                                     )   Robert C. Carpenter
(Use Date of Last Amended Judgment if Applicable)                           )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.  GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of             months is reduced to                           .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                31                                       Amended Offense Level:
Criminal History Category:             III                                      Criminal History Category:
Previous Guideline Range:              135         to 168        months         Amended Guideline Range:                  to     months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS
Defendant's motion to reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2) was rendered moot by this court's decision
to grant the Government's Rule 35(b) motion and to reduce Defendant's sentence of imprisonment to time served. As such,
this court will grant Defendant's consent motion to withdraw Defendant's motion to reduce his sentence pursuant to 18
U.S.C. § 3582(c)(2).


Except as provided above, all provisions of the judgment dated                      July 8, 2003       shall remain in effect.
IT IS SO ORDERED.

Order Date:          October 24, 2008


Effective Date:
                       (if different from order date)
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